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1     JEFFREY B. SETNESS, ESQ
      California Bar No. 96773
2
      JEFFREY C. BRAMBLE, ESQ
3     Utah Bar No. 15548
      (Pro Hac Vice Application Pending)
4
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      Telephone: 702-286-2626
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9
                             UNITED STATES DISTRICT COURT
10
                           SOUTHERN DISTRICT OF CALIFORNIA
11
      THANE CHARMAN, individual,                Case No.: 23-cv-0959-BAS-KSC
12                                 Plaintiff,
                                                DECLARATION OF RYAN HOGGAN IN
13    v.                                         SUPPORT OF MOTION TO DISMISS
14
      DESERT LAKE GROUP, LLC, d/b/a
                                                Hearing Date:   February 26, 2024
15    FIRST CLASS HERB TINCTURE,
      d/b/a FIRST CLASS HERBALIST
16                                                  NO ORAL ARGUMENT UNLESS
      CBD, d/b/a FIRST CLASS
                                                       ORDERED BY THE COURT
17    HERBALIST OILS, d/b/a USA
                                                Place:      James M. Carter and Judith
      HERBALIST OILS, BENSON
18                                                          N. Keep U.S. Courthouse
      CHRISTOPHER HUNTER, an
                                                            333 West Broadway
19    individual, CHRIS TIRRELL
                                                            Courtroom 12B, 12th Floor
      ARMSTRONG, an individual, DARIN
20                                                          San Diego, CA 92101
      EDWARD TOONE, an individual,
                                                Judge:      Hon Cynthia A. Bashant
21    JARED C FORBUSH, an individual,
      JONATHAN KENT VIRGIN, an
22                                              Complaint Filed: May 25, 2023
      individual, NICHOLAS ANTHONY
                                                Trial Date:      Not Set
23    ARMSTONG, an individual,
      NICHOLAS LANE JESSEN, an
24
      individual RYAN DEAN HOGGAN,
25    an individual,
26                               Defendant.
27
28

                                                 1
      DECLARATION OF RYAN HOGGAN IN SUPPORT OF MOTION TO DISMISS      Case No. 23-cv-0959-BAS-KSC
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1           I, Ryan Hoggan, make the following declaration in support of Defendant Ryan
2     Hoggan’s Motion to Dismiss Amended Complaint, stating as follows:
3           1.     I am over the age of eighteen and competent to testify.
4           2.     I have personal knowledge of all the facts described herein.
5           3.     I currently reside in Utah and have lived at my current address in Salt Lake
6     County since 2015.
7           4.     I do not own property in California.
8           5.     I am not registered to vote in California.
9           6.     I maintain a Utah driver’s license and do not have a California driver’s license.
10          7.     I do not regularly travel to California.
11          8.     Other than incidental travel through or an occasional vacation in California, I
12    do not have any connections with California.
13          9.     I do not conduct any personal business in California.
14          10.    With regard to the Desert Lake Group, LLC (“Desert Group”), I owned a
15    minority membership interest until approximately May 2019.
16          11.    I was not a manager of Desert Group.
17          12.    I was not involved in the day-to-day operations of Desert Group, including
18    any of the marketing decisions.
19          13.    With regards to service of Plaintiff’s Amended Complaint and Amended
20    Summons, I was not home on November 16, 2023, at 3:49 p.m. MST. Because I was not
21    home, I was not aware that Clifford Griffis was attempting service of Plaintiff’s Amended
22    Complaint and Amended Summons.
23          14.    On November 19, 2023, at 8:05 a.m. MST., I was not home and was not aware
24    that Mr. Griffis was attempting to serve any legal documents upon me. Because I was not
25    aware of service attempts, I was not, and could not, have been evading service of the
26    pleadings.
27          15.    On November 21, 2023, at 5:30 a.m. MST, I was asleep in bed and did not
28    hear a knock or doorbell ring, if there was one. As a result, I did not look out a window or

                                                    2
      DECLARATION OF RYAN HOGGAN IN SUPPORT OF MOTION TO DISMISS           Case No. 23-cv-0959-BAS-KSC
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1     monitor Mr. Griffis from a window camera that morning and was not aware service was
2     attempted. Further, I was not attempting to evade service.
3           16.    On November 21, 2023, at 5:00 p.m. MST, I received a text message from Mr.
4     Griffis. A copy of the text message is attached hereto as Exhibit A. The first text message
5     stated that Mr. Griffis was a “PI doing process service” and that he had “legal documents
6     for [me].” Id. The text message acknowledged that I was not home when Mr. Griffis
7     attempted service at my residence. I did not respond to the text message as I was working
8     and did not see the text message.
9           17.    On November 21, 2023, at 6:01 p.m. MST, Mr. Griffis sent me a second text
10    message. Id. The second text message stated that Mr. Griffis left my paperwork on my front
11    door and that he presumed that I saw him on security cameras. Id.
12          18.    Mr. Griffis statements regarding security cameras are not accurate as I did not
13    see him on security camera footage from my home. Further, Mr. Griffis did not personally
14    serve me copies of the Amended Summons and Amended Complaint.
15          19.    I have not received any other communications from Mr. Griffis regarding any
16    attempts to serve the subject pleadings.
17          I declare under penalty of perjury under the laws of the State of California that the
18    foregoing is true and correct.
19          Executed on this 12th day of January, 2024, at Salt Lake City, Utah.
20
21                                           Ryan Hoggan, Declarant
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      DECLARATION OF RYAN HOGGAN IN SUPPORT OF MOTION TO DISMISS          Case No. 23-cv-0959-BAS-KSC
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                  EXHIBIT A
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